Case: 2:21-mj-00024-EPD Doc #: 3 Filed: 10/20/22 Page: 1 of 1 PAGEID #: 24

AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

 

 

 

Return
Case No.: Date and time warrant ¢; gscuted: Copy of warrant and inventory left with:
2:21 py -2F YAY RoR( EE" 2:27am

 

Inventory madé in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

|. Forensic estvaction cf i A Pro
dL [mage ot Alple laptep
3. forage Cttactio ot 3 Phone Q

 

Certification

 

designated judge.

Date: 16/20, 2022.

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

EL

Executing officer’s signature

t

Aureee 0 MOKA Spectal nent

Printed name and title

 

 
